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                  IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                             Plaintiff,            )       No. 15 CR 526-1
                                                   )
            v.                                     )
                                                   )       Hon. Harry Leinenweber
THADDEUS JIMENEZ,                                  )       Judge Presiding
                                                   )
                             Defendant.            )
                                                   )

                                   NOTICE OF MOTION

        PLEASE TAKE NOTICE that on March 11, 2020, at 9:30 a.m. or as soon thereafter as
I may be heard, I shall appear before the Honorable Harry Leinenweber or any judge sitting in
his stead in Courtroom 1941, or another courtroom occupied by him at the U.S. District Court
for the Northern District of Illinois, Eastern Division, 219 S. Dearborn St., Chicago, Illinois
60604, and shall present the following: Defendant’s Motion for a Judicial Recommendation.

                                                           /s/ Nicholas V. Burris



                                    PROOF OF SERVICE

        The undersigned attorney hereby certifies that, in accordance with Fed. R. Civ. P. 5 and
the General Order on Electronic Case Filing (ECF), this Notice and the above-listed document(s)
and attachments were served pursuant to the District Court’s ECF system to ECF filers on
March 4, 2020.

                                                           /s/ Nicholas V. Burris
                                                           One of Petitioner’s Attorneys


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